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                              UNITED STATES BANKRUPTCY COURT
                                SOUTHERN DISTRICT OF INDIANA
                                   INDIANAPOLIS DIVISION

In Re:                                          )
                                                )
Jamie Lynn Spears                               ) Bankruptcy No. 05-26778-AJM-7A
                                                )
                   Debtor(s).                   )
________________________________                )
                                                )
Ellen K. Fujawa, Trustee                        ) Adversary Proceeding No.
                       Plaintiff                )
-v-                                             )
                                                )
Jamie Lynn Spears                               )
                                                )
                        Defendant(s).           )


                           COMPLAINT TO REVOKE DISCHARGE

         Plaintiff, Ellen K. Fujawa, for her complaint against the Defendant(s) Debtor(s), Jamie Lynn

Spears, would show the Court:

         1.     That the Court has jurisdiction of this matter under 11 U.S.C. 727 and 28 U.S.C.

1334. Venue is proper in this Court pursuant to 28 U.S.C. 1409. This matter is a core proceeding

under 28 U.S.C. 157(b)(2).

         2.     Plaintiff is the duly appointed Chapter 7 trustee in this case.

         3.     The Trustee was obliged to seek an Order of Turnover to compel the Defendant(s)

Debtor(s) to turnover copies of 2005 federal and state tax returns; pro-rated 2005 federal and state

tax returns; copy of pay stub reflecting employment bonus; and pro-rated employment bonus. The

Defendant(s) Debtor(s) failed to comply with the Order entered on January 12, 2007.

         4.     An order of discharge was entered in this case on March 3, 2006. The discharge

should be revoked pursuant to 11 U.S.C. 727(a)(6)(A).
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          WHEREFORE the Plaintiff Trustee prays that after such notice and hearing as the Court

shall require, that the Court enter judgment revoking the Order of Discharge entered March 3, 2006

in this case, and deny a discharge under 11 U.S.C. 727 to the Debtor(s) in this case, Jamie Lynn

Spears.



                                             /s/ Ellen K. Fujawa
                                             Ellen K. Fujawa, Trustee




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